Case 3:16-cV-03109-S Document 83 Filed 07/06/18 Page 1 of 1 Page|D 773

United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISlON
ENRIQUE ZAMARRIPA §
§
§
v. § CAsE No. 31 ia-CV-3109-s
§
§
LoUis FARRAKHAN, et at §
§
M

F or the reasons set out in a memorandum opinion and order filed today, it is ordered and
adjudged that Plaintiff Enrique Zarnarripa’s (“Zamarripa”) action against Defendants Louis
Farraklian (“Farrakhan”) and the Nation of Islam (the “NOI”) is dismissed With prejudice

Farraklian’s and the NOI’s taxable costs of court, as calculated by the clerk of court, are
assessed against Zamarripa.

Pursuant to Fed. R. Civ. P. 54(b), the Court expressly determines that there is no just reason

for delay and directs the clerk of court to enter this as a final judgment

SO ORD RED.

/\/w;m _, _

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

 

 

